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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF VIRGINIA
                                 Roanoke Division

BAE SYSTEMS ORDNANCE         )
SYSTEMS, INC.                )
                             )
Plaintiff,                   )
                             )                         Civil Action No. 7:20-CV-00587-MFU-RSB
v.                           )
                             )
FLUOR FEDERAL SOLUTIONS, LLC )
                             )
Defendant.                   )
                             )
                             )

     FLUOR FEDERAL SOLUTIONS, LLC’S FIRST SET OF INTERROGATORIES
          TO PLAINTIFF BAE SYSTEMS ORDNANCE SYSTEMS, INC.


       Under Federal Rule of Civil Procedure (“FRCP”) 33, Defendant, Fluor Federal Solutions, LLC

(“Fluor”), through its undersigned counsel, serves Plaintiff, BAE Systems Ordnance Systems, Inc.

(“BAE”), the following Interrogatories in accordance with the following definitions and instructions.

Under FRCP 33 and 34, BAE must respond to Fluor’s discovery requests within thirty (30) days of

being served them.

                                         INSTRUCTIONS

       1.      Each Interrogatory must, to the extent it is not objected to, be answered separately

and fully in writing and under oath. Each Interrogatory is to be accorded a separate answer, and

Interrogatories are not to be combined for the purpose of supplying a common response thereto.

       2.      Under FRCP 26(e), these Interrogatories are continuing in nature, and you are required

to supplement or correct any disclosure or response to these Interrogatories in a timely manner if you

learn that the disclosure or response is, in some material respect, incomplete or incorrect, and if the

additional or corrective information has not otherwise been made known to the other party during



                                                                                               EXHIBIT
                                                                                                     B
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the discovery process in writing, or as ordered by the Court. Any additions or changes to this

information must be disclosed by the time the party’s pretrial disclosures under FRCP 26(a)(3) are due.

        3.          No part of an Interrogatory should be left unanswered merely because an objection is

interposed to another part of the Interrogatory. If a partial or incomplete answer is provided, the

responding party shall state that the answer is partial or incomplete.

        4.          In accordance with FRCP 26(b)(5), where a claim of privilege is asserted in objecting

to any Interrogatory or part thereof, and information is not provided on the basis of such assertion:

        A.          In asserting the privilege, the responding party shall, in the objection to the

                    Interrogatory, or part thereof, identify with specificity the nature of the privilege

                    (including work product) that is being claimed.

        B.          The following information should be provided in the objection, if known or

                    reasonably available, unless divulging such information would cause disclosure of the

                    allegedly privileged information:

               i.      For oral communications:

                       a. The name of the person making the communication and the names of persons

                           present while the communication was made, and, where not apparent, the

                           relationship of the persons present to the person making the communication;

                       b. The date and place of the communication; and

                       c. The general subject matter of the communication.

              ii.      For documents:

                       a. The type of document;

                       b. The general subject matter of the document;

                       c. The date of the document; and




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                    d. Such other information as is sufficient to identify the document, including,

                        where appropriate, the author, addressee, custodian, and any other recipient of

                        the document, and where not apparent, the relationship of the author,

                        addressee, custodian, and any other recipient to each other.

        5.      In accordance with FRCP 33(d), if the responding party elects to specify and produce

business records in response to any Interrogatory, the specification shall be in sufficient detail to

permit the interrogating party to locate and identify, as readily as the responding party can, the business

records from which the answer may be ascertained.

        6.      If, in answering these Interrogatories, the responding party encounters any ambiguities

when construing a question, instruction, or definition, the responding party’s answer shall set forth

the matter deemed ambiguous, and the construction used in answering.

                                           DEFINITIONS

        1.      The terms “you,” “your,” and “BAE” refer to BAE Systems Ordnance Systems, Inc.,

its directors, officers, employees, agents, representatives, consultants, and attorneys.

        2.      The term “Fluor” refers to Fluor Federal Solutions, LLC, its directors, officers,

employees, agents, representatives, consultants, and attorneys.

        3.      The term “Parties” refers to BAE and Fluor, collectively.

        4.      The term “Army” refers to the United States Army, the Project owner for whom BAE

was the prime contractor.

        5.      The term “Action” refers to the above-captioned case.

        6.      The term “Complaint” refers to the Complaint (ECF No. 1) that BAE filed in this

Action on September 30, 2020.

        7.      The term “Answer” refers to the Answer and Affirmative Defenses (ECF No. 40) that

BAE filed in this Action in response to Fluor’s Complaint on June 14, 2021.



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            8.    The term “Project” refers to the design and construction of the new nitrocellulose

facility that Fluor performed under a subcontract with BAE on the Radford Army Ammunition Plant

in Radford, Virginia, which is the subject of this Action.

            9.    The phrase “NC Facility” refers to the new nitrocellulose facility on which Fluor

provided design and construction services under a subcontract with BAE, and which was intended to

replace the Army’s legacy nitrocellulose facility on the Radford Army Ammunition Plant.

            10.   The term “RFAAP” refers to the Radford Army Ammunition Plant in Radford,

Virginia, where the Project was performed.

            11.   The phrase “Basic Ordering Agreement” refers to Contract No. W52P1J-11-G-0002,

entered by BAE and the Army on May 17, 2011.

            12.   The phrase “Prime Contract” refers to Task Order 0002 to the Basic Ordering

Agreement, including all amendments, change orders or modifications thereto, which was issued by

the Army to BAE on or about January 23, 2012, for the design and construction of a new nitrocellulose

facility.

            13.   The term “Subcontract” refers to the subcontract between BAE and Fluor, entered

on or about December 17, 2015, for the design and construction of a new nitrocellulose facility.

            14.   The phrase “Process Design” refers to the design prepared by BAE by which the

thousands of components of the NC Facility would operate, and which was required to ensure that

the nitrocellulose production process provided high quality, improved manufacturing efficiencies, and

operated safely.

            15.   The term “Lauren” refers to Lauren Engineers & Constructors, Inc., BAE’s original

subcontractor for the design and construction of the NC Facility, whose construction and design

subcontracts BAE terminated in January 2015 and March 2015, respectively.




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           16.   The phrase “Lauren Design” refers to the designs, specifications, drawings, diagrams,

and computer models of the NC Facility that Lauren prepared under the subcontract with BAE.

           17.   The term “Solicitation” refers to the Solicitation and Request for Proposals that BAE

issued to interested bidders, including Fluor, on or about July 2, 2015, for the Project.

           18.   The phrase “Bid Proposals” refers to both the cost proposals and the technical

proposals that Fluor submitted to BAE in August through November 2015 in order to bid on the

Project.

           19.   The phrase “Change Proposal (PCN)” refers to the formal proposals that Fluor

submits to BAE, as required by the Subcontract, stating the bases of Fluor’s entitlement to additional

compensation.

           20.   The phrase “Statement of Work” refers to the Subcontract’s Statement of Work,

which is Exhibit E to the Subcontract.

           21.   The phrase “Appendix G” refers to Appendix G of the Statement of Work, which

includes the Lauren Design.

           22.   The term “communication” means the transmittal of information by any means.

Without limiting the foregoing, “communication” includes all documents (whether paper, electronic,

or otherwise), email communications, telephone conversations, face-to-face conversations,

negotiations, meetings, or conferences whether internal to BAE or with any other entity.

           23.   The term “document” means any document, and any original, preliminary, or draft of

such document, in your control, custody, or possession, and includes, without limitation, any of the

following, whether printed, recorded, microfilmed, reproduced by any process, or written or produced

by hand, and whether or not claimed to be privileged, confidential, or personal: communications,

writings, files, contracts, agreements, notes, reports, records, schedules, correspondence, letters,

telegrams, cables, telex messages, email transmissions, memoranda, notations, notepapers, interoffice,



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intradepartmental, interdepartmental, and other internal office communications, diaries, manuals,

training manuals, operator’s manuals, user’s manuals, policies, proposed and adopted revisions to

policies, invoices, purchase orders, requisitions, transcripts, notes and minutes of telephone and other

conversations, notes and minutes of conferences or directors meetings or committee meetings,

standard and nonstandard forms, executed written statements or reports, books, pamphlets,

periodicals, press clippings, articles, requisitions, resolutions, certificates, opinions, studies, analyses,

evaluations, contracts, proposed or adopted amendments to contracts, licenses, agreements, financial

statements, financial records, ledgers, checks, check stubs, books or records of accounts, credit

memoranda, credit files, notations in credit files, loan cards, statistical records, tax returns, desk

calendars, books, lists, tabulations, summaries, charts, graphs, maps, surveys, plans, drawings,

specifications, sound recordings, photographs, video recordings, computer tapes or printouts,

magnetic tapes, microfilms, punch cards, computer records, runs programs or software and any codes

necessary to comprehend such records, runs programs or software, opinions and reports of

consultants, and all other records prepared or maintained by electronic, photographic or mechanical

means, and all papers and things similar to any of the foregoing, as well as all handwritten notices or

notations, in whatever form, and however denominated, by you or any other person. The terms

“document” and “documents” shall include all electronic and magnetic data, and this data shall be

produced in digital form on CD-ROMs, DVDs, or hard drives. This definition includes all documents

for which privilege is claimed. A draft or nonidentical copy is a separate document within the meaning

of these terms.

        24.       The term “correspondence” means any document related to any communication,

contact, discussion, or exchange between any two or more persons, whether internal to BAE or with

another entity.




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        25.     The terms “person,” “individual,” and “entity” include any natural person, partnership,

corporation, proprietorship, joint venture, unincorporated association, or other business association

or legal entity, and any other domestic or foreign governmental body, commission, board, agency,

authority, branch, department, or component thereof.

        26.     “Related to,” “relating to,” or “pertaining to” includes referring to, pertaining to, in

any way, embodying, regarding, concerning, connected with, commenting on, responding to, showing,

describing, analyzing, reflecting, constituting, or being, in any way, legally, logically, or factually

connected with the matter discussed.

        27.     The term “concerning” includes constituting, referring to, relating to, describing,

discussing, analyzing, comprising, embodying, recording, evidencing, effecting, or containing any

information which refers to, relates to, or pertains to a specific subject.

        28.     The term “include” or “including” means “including, but not limited to.”

        29.     The term “identify” means:

        A.      When referring to a natural person, state their full name, present or last known

                business and home addresses, their present or last known business position, and, if

                different, their occupation or business position at the time to which the request or

                your response thereto has reference. When used with respect to any particular person,

                the information other than their full name need be given only once.

        B.      When referring to a corporation, partnership, subsidiary, association, joint venture,

                firm, or other business enterprise or legal entity, state the full name and address and a

                brief description of the primary business in which such entity is engaged. With respect

                to any particular entity, the information other than the full name need be given only

                once.




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        C.          When referring to a communication, act, transaction, event, occasion, or instance,

                    including an oral agreement, statement, recommendation, or representation:

               i.       State its date and place of occurrence (or, if a telephone call is involved, so state

                        and provide the location of all parties to such telephone call and identify the person

                        who initiated it); the identity of each person participating therein, who each such

                        person participating therein represented or purported to represent, the nature and

                        subject matter or any circumstances surrounding it, and the substance of what

                        transpired or was said; and

              ii.       Identify all documents, summarizing, recording, reflecting, reporting, or

                        containing a reference to it.

        D.          When referring to anything other than any of the foregoing, provide the information

                    requested, fully state all facts supporting your answer, and explain in detail any

                    circumstances relevant to the information requested.

        30.         Terms referring to a gender include all genders, as appropriate in the context.

        31.         The term “each” includes the word “every,” and the term “every” includes the word

“each.” “Any” includes the word “all,” and “all” includes the word “any.” “And” includes the word

“or,” and “or” includes the word “and,” as is necessary to bring within the scope of a particular request

any document that might otherwise be construed to be outside its scope.

        32.         Terms in the plural include the singular, and terms in the singular include the plural.




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                                             INTERROGATORIES

           1.     Identify and describe in detail all factual, legal or contractual bases, reasons, rationales

or arguments for each of BAE’s representations to Fluor during the proposal period that the Lauren

Design was 85% “Schedule Complete,” “an estimated 85% design solution,” “estimated at 85%,” and

“80-90% complete,” including representations made at meetings and in email communications on or

about March 26, 2015, April 16, 2015, April 23, 2015, July 21, 2015, August 31, 2015, and October 26,

2015. See Exhibit A. 1 In your response, identify each person with personal knowledge of the facts

concerning each representation; and identify all documents referred to, reviewed or relied upon, in any way,

to prepare your response.

           2.     Identify and describe in detail all statements, estimates, and representations, whether

oral or in writing, that BAE made to the Army regarding the Lauren Design’s completion status,

including the percentage of completion, between the date that BAE terminated Lauren’s design

contract and the date that BAE executed the Subcontract with Fluor.

           3.     Identify and describe in detail all actions BAE undertook to evaluate the percentage

complete, maturity, condition, status, and progress of the Lauren Design at or around the time that

BAE terminated Lauren’s design subcontract. In your response, identify all personnel who took such

actions.

           4.     Identify and state in detail all payments made by BAE to Lauren under the Lauren

subcontract(s). In your response, identify each amount paid and the date of payment for all design

work performed by Lauren.




1 BAE’s presentation titled “New Nitrocellulose Facility,” dated July 21, 2015 – wherein BAE described the Lauren Design

as 85% “Schedule Complete” – is marked “Export-Controlled Data” and “EAR Controlled” and therefore cannot be
disclosed publicly. However, BAE both prepared and delivered the presentation, and so is, or should be, aware of its
contents. Accordingly, BAE is not prejudiced by the presentation not being attached to these Interrogatories.


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         5.      Identify and describe in detail all corrections, redlines, or updates that BAE made to

 the Lauren Design after terminating the Lauren design subcontract and before executing Fluor’s

 Subcontract with BAE on or about December 17, 2015, to include redlined drawings provided to

 Fluor on or about December 7, 2015. In your response, identify the personnel involved and the reason

 why BAE made such redlines, corrections, or updates.

         6.      Identify and describe in detail all bases, reasons, and rationales for BAE’s

 representation made on August 31, 2015, that “the design portion of [Fluor’s] proposal is really far

 out of whack with our expectations. As a reference point, the entire original design was around $15M,

 and that should be about 80-90% complete.” See Exhibit B.

         7.      Identify and describe in detail all bases, reasons, and rationales for BAE’s decision to

 provide the Lauren Design to bidders during the pre-Solicitation and Solicitation phases of the Project,

 as set forth in Paragraph 42 of your Complaint.

         8.      Identify and describe in detail all bases, reasons, and rationales for BAE’s statement

 made on or about July 15, 2015, that the “[r]eference to exisitng [sic] Lauren standards is a general

 statement included in a [sic] all sections to ensure that the Lauren developed standards in all discilplines

 [sic] are referenced and applied to the program.” See Exhibit C.

         9.      Identify and describe in detail all bases, reasons, and rationales for BAE’s decision to

 include the Lauren Design in the Subcontract, including in Appendix G, as well as BAE’s requirement

 that the Lauren Design “represent[s] the minimum requirements” for the Project, as set forth in

 Subcontract Statement of Work Section 2.4.

         10.     Identify and describe in detail BAE’s understanding of its design responsibilities

 related to the Project’s Process Design as set forth in the Subcontract, including BAE’s responsibilities

 for any modifications to the Process Design during the Project. In your response identify and describe

 in detail all factual, legal or contractual bases, reasons or rationales for Your understanding.



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         11.     Describe in detail how BAE contends that it managed and implemented its design

 responsibilities related to the Project’s Process Design, including all modifications to the Process

 Design during the Project. In your response, identify any individuals who stamped the Project’s

 Process Design drawings.

         12.     Identify and describe in detail all factual, legal or contractual bases, reasons, rationales

 or arguments for, and all documents, communications or correspondence concerning referring or

 relating to, BAE’s allegation that it paid Fluor to, “determine the level of completeness of Lauren’s

 [D]esign and discover any perceived deficiencies,” as set forth in Paragraph 61 of BAE’s Complaint.

 In your response, identify each person with personal knowledge of the facts concerning such allegation.

         13.     Identify and describe in detail all factual, legal or contractual bases, reasons, rationales

 or arguments for BAE’s allegation, in Paragraph 30 of its Complaint, that Fluor failed to “complete

 the process design,” and BAE’s denial, in Paragraph 167 of its Answer, that BAE retained design

 responsibilities for the Project’s Process Design, when BAE also stated in its July 13, 2021 Reply Brief:

 “To be clear, BAE does not and has not argued that Fluor is responsible for all aspects of the design.

 BAE acknowledges that it has limited process design responsibility related to overall plant operations,

 program management, and the BAE furnished equipment for the NC manufacturing process.” See

 ECF 49 at 5.

         14.     Identify and describe in detail all actions that BAE took to analyze, review, assess,

 evaluate, or consider the Change Proposals (PCN’s) submitted by Fluor to BAE on the Project. In

 your response, identify all persons or entities who participated in, or who possess knowledge of, BAE’s

 analysis of Fluor’s PCNs.

         15.     Identify and describe in detail all factual, legal or contractual bases, reasons, rationales

 or arguments for BAE’s agreement with the Army to “perform a total of $9,000,000.00 in abnormal

 maintenance efforts on the legacy NC facility as needed,” as set forth in Paragraph 111 and Exhibit I



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 of your Complaint. In your response, identify the individuals from BAE and the Army who negotiated

 this agreement and how the $9 Million amount was calculated or determined.

         16.     Identify and describe in detail all work performed by BAE as “abnormal maintenance

 efforts on the legacy NC facility” and work performed on “other projects or efforts at Radford,” as

 set forth in Paragraph 111 and Exhibit I of your Complaint. In your response, identify the amount

 credited for each item of work or effort performed against the $9 Million in abnormal maintenance

 and work on other projects and efforts that BAE agreed to perform without cost to the Army.

         17.     Does BAE contend that both BAE and Fluor foresaw, or reasonably should have

 foreseen, at the time the Parties executed the Subcontract, that a breach of the Subcontract by Fluor

 would result in BAE paying concessions to the Army in the form of “abnormal maintenance,” to

 include maintenance on portions of the RFAAP unrelated to any NC manufacturing process? If your

 answer is in the affirmative, identify and describe in detail all factual, legal or contractual bases, reasons

 or rationales for your contention.

         18.     Identify and describe in detail each and every contractual default, delay, breach, or

 other deficiency, if any, that BAE alleges that Fluor committed, was responsible for, or otherwise

 failed to satisfy relating to the Project. For each such default, delay, breach, or other deficiency, identify

 the contractual requirement, standard, or other obligation that BAE contends that Fluor breached or

 otherwise failed to satisfy and all facts and circumstances upon which you base your contention.

         19.     Identify and describe in detail all facts and circumstances upon which you base BAE’s

 alleged damages as set forth in Paragraph 153 (a) – (d) of your Complaint. In your response, provide

 the calculation for each category of damages claimed and identify all documents, communications,

 correspondence, analyses, records, or data upon which each calculation is based.

         20.     Identify and describe in detail all oral communications, including, without limitation,

 all meetings, conferences, and phone calls, whether internal or external, held by BAE, in which BAE



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 reviewed, addressed, or discussed any and all versions of Fluor’s Change Proposals (PCNs). In your

 response, identify each person on behalf of BAE who participated in each oral communication and

 all documents summarizing, memorializing, or describing each oral communication.

        21.     Identify and describe in detail all communications, including, without limitation, all

 meetings, conferences, and phone calls, held between BAE and the Army in which BAE reviewed,

 addressed or discussed with the Army any Project delays, to include any delays that BAE attributed to

 Fluor. In your response, identify each person representing the Army and BAE who participated in

 such oral communication and all documents summarizing, memorializing, or describing each oral

 communication.

        22.     Identify and describe in detail all communications, including, without limitation, all

 meetings, conferences, phone calls, and oral communications, whether internal or external, held by

 and between BAE and Lauren in which BAE reviewed, addressed, or discussed with Lauren the

 alleged grounds for termination of the Lauren subcontract and the status or maturity, including the

 percent complete, of the Lauren Design. In your response, identify each person from BAE and Lauren

 who participated in each communication and all documents summarizing, memorializing, or

 describing each communication.

 Dated: October 15, 2021




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                              Respectfully submitted,



                                     /s/ Scott P. Fitzsimmons
                                     Scott P. Fitzsimmons, Esq. (VSB 68147)
                                     Kathleen O. Barnes, Esq. (VSB 30451)
                                     Edward J. Parrott, Esq. (VSB 29499)
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                                     Attorneys for Fluor Federal Solutions, LLC




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                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this 15th day of October 2021, a copy of the foregoing was

 delivered via email to the following:

                 Todd M. Conley (VSB #89839)
                 Jeffrey J. Golimowski (VSB #93525)
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                 Attorneys for BAE Systems Ordnance Systems, Inc.




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                                    Respectfully submitted,

                                    /s/ Kathleen O. Barnes
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                                    Attorney for Fluor Federal Solutions, LLC




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